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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC

                                               JOINT CASE MANAGEMENT
This document relates to:                      STATEMENT

ALL ACTIONS                                    Judge: Hon. Vince Chhabria
                                               Courtroom: VIA VIDEOCONFERENCE
                                               Hearing Date: June 9, 2022
                                               Hearing Time: 2:30 pm




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                                    PLAINTIFFS’ STATEMENT
          Plaintiffs are pursuing the discovery they need to prove their case. Since the last case

management conference, some of that discovery continues to be delayed or outright impeded.

Facebook’s portion of this joint statement asserts that Plaintiffs are somehow responsible for

these difficulties. But Plaintiffs are not the reason that Facebook has still not completed its

production of ADI documents. Plaintiffs did not offer 30(b)(6) designees but then put

undisclosed limitations on their testimony. Nor did Plaintiffs serve a privilege log that, based on

a statistically significant sample, mostly contains unjustified assertions of privilege. Plaintiffs are

focused on procuring evidence supporting class certification and the merits of their claims within

this Court’s ordered case management schedule.1

          1.     Rule 30(b)(6) depositions. At the last hearing, Plaintiffs expressed optimism that

30(b)(6) depositions would be completed in April. Despite Plaintiffs’ efforts, the depositions did

not start until May, and testimony remains to be taken on at least five topics. Facebook has

indicated it will not be possible to complete 30(b)(6) depositions before July. Plaintiffs ask that

Facebook be ordered to produce all documents related to outstanding 30(b)(6) depositions by

June 15 and to complete 30(b)(6) depositions by the end of June.

          During the 30(b)(6) depositions taken so far, Plaintiffs learned for the first time of

improper limitations Facebook placed on the scope of testimony. As a result, Facebook’s

designees have not been prepared to testify about noticed topics central to the case. And although

Plaintiffs are required to disclose the documents they will use in 30(b)(6) depositions three days

before each deposition, the designees have not been prepared to discuss many of them.

          Plaintiffs briefly summarize the problems encountered in the depositions of each of the

first four 30(b)(6) designees:

         Facebook’s designee on its policies, including its enforcement efforts and monitoring of

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    For the Court’s reference, Plaintiffs intended to attach the parties’ discovery tracker dated May
    27, which documents the status of the current and past discovery disputes. Facebook has
    objected to this attachment, so Plaintiffs have deferred providing this to the Court.
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       third parties’ use of user data, declined to testify about the circumstances in which
       Facebook enforced its policies, ECF No. 934-3 at 7, even though the notes prepared for use
       during her deposition (and only produced after it) include concrete facts about how
       Facebook applied its policies to third-party apps and the number of enforcement actions
       taken from 2012 to 2021, FB-CA-MDL-03132829–38. Based in part on Facebook’s refusal
       to answer questions and counsel’s improper instructions not to answer based on scope,
       Plaintiffs immediately moved for sanctions, and the parties stipulated to the relief Plaintiffs
       sought. ECF No. 936.

      Facebook’s designee on friend sharing and whitelisting, including the “revenues and net
       profits . . . related to whitelisting,” was not prepared to testify on multiple relevant issues,
       including: documents identified in advance discussing the format for selecting partners for
       continued access to friend or other publicly deprecated data permissions; how Facebook
       classifies and values partners, analyses prepared by Facebook assessing potential revenue
       if partners stopped using Facebook due to its deprecation of friend sharing and other data
       permissions; and whether Facebook could isolate its revenue from whitelisted partners.
       Cross Tr. 269–274, 289–293, 324–25, 379–391. Plaintiffs stress that this designee was
       designated to testify about revenue from whitelisting, so it is deeply misleading to say that
       “another witness has been designated on that topic.” Infra p. 7.

      Facebook’s designee on association and deletion of user data was not prepared to testify
       on association, only deletion, nor regarding Facebook’s understanding of “personal
       information,” Clark Tr. 217–18, which informs Facebook’s promise to anonymize certain
       information shared with third parties. The Special Master instructed Facebook to “find a
       witness that can define what personal information is.” Id. at 245. Plaintiffs have asked
       Facebook to produce a witness to provide this testimony. Facebook has not yet responded.

      Facebook’s designee on the calculation of revenues was not prepared to testify about
       payments Facebook makes to third parties for user data, which establishes market prices
       for such data, Lee Tr. at 200–02, even though Plaintiffs had specifically notified Facebook
       of its intent to ask about these payments before the deposition. Plaintiffs have requested
       further testimony and document production related to these payments. Facebook has not
       yet responded.

       These problems have arisen despite Plaintiffs’ consistent efforts to meet and confer. They

served a draft 30(b)(6) notice on December 23, 2021 and sought at that time to meet and confer.

Facebook did not substantively respond until after Plaintiffs served the operative 30(b)(6) notice

on March 1, 2022, despite Plaintiffs’ repeated attempts to confer. It is thus false for Facebook to

claim that Plaintiffs have failed to discuss the notice. Rather, it was Facebook that did not

provide objections until March 29, the day before the last case management conference. On

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receiving the objections, Plaintiffs immediately conferred with Facebook, which assured

Plaintiffs that the objections were “boilerplate,” “really nothing,” and would not limit the scope

of the topics. Based on these assurances, Plaintiffs reported their expectation that the 30(b)(6)

depositions would proceed in April and that witnesses would be prepared to testify about the

noticed issues. Hr’g Tr. at 11:15–21, 11:25–12:1 (Mar. 30, 2022).

       On April 25, Facebook took back its assurances that its objections would not limit the

scope of testimony but provided no specifics. Instead, it promised to provide a comprehensive

statement about the scope of 30(b)(6) testimony and its concerns about each topic, but did not do

so before the depositions began. Since that time, Plaintiffs have conferred with Facebook for

more than 20 hours. Facebook’s claims otherwise are not true.

       Facebook criticizes Plaintiffs’ 30(b)(6) notice for inquiring into targeted advertising,

which it asserts is outside the scope of this case. But the evidence—including internal Facebook

communications—indicates that Facebook, without users’ permission, shared users’ non-public

information with third parties to profit through targeted advertising. Further, evidence related to

targeted advertising bears directly on damages. See Cross Dep. Tr. at 383–84, 390–91.

       2.      ADI. Facebook is in violation of Court orders regarding the production of ADI

documents. On February 10, the Court directed Facebook to produce all ADI-related documents

within 21 days. Hr’g Tr. at 13 (Feb. 10, 2022). Twenty-eight days later, Facebook told Plaintiffs

it had completed the ADI production. ECF No. 923, Ex. 71.

       In late March or early April, however, Facebook first told Plaintiffs of limitations on its

ADI production. It had not searched all custodians, had used obviously deficient search terms

(e.g., “ADI” and “App Developer Investigation” were not used), and searched for documents

from truncated period. See ECF No. 923, ¶¶ 5–10. Plaintiffs were surprised to learn of these

limitations. Plaintiffs expected, for example, that Facebook would search “all” custodians, since

that is what the Special Master’s order required. ECF No. 828 at 5, ¶ 20 (emphasis added). The

“26 ADI custodians” that Facebook instead searched, infra p. 8, did not represent all custodians

and had been used earlier for a distinct and limited purpose. See ECF No. 513 & Ex. A.


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Facebook eventually agreed to cure the deficiencies. ECF No. 923, ¶ 11.

       Meanwhile, the Court directed Facebook to produce all ADI-related documents by April

27. See Hr’g Tr. at 7 (Mar. 30, 2020). Facebook did not meet that deadline. By April 27,

Facebook had completed production of ADI documents only from a limited subset of custodians.

It recently told Plaintiffs that production would be complete by June 15. The ten-week delay has

caused a waterfall of other delays, including delays in resolving privilege disputes and

scheduling and taking depositions.

       3.      Privilege overdesignation. Through February 2022, Facebook had logged 22,071

documents as privileged. In March, it served a log that included 233,544 new entries. Given that

the March log was an order of magnitude larger than the previous logs, the parties agreed to a

new process to resolve disputes. Plaintiffs challenged certain categories of withheld documents,

and Facebook reviewed a random sample of 3,062 unique documents within those categories.

This exercise led Facebook to wholly withdraw its privilege claims over 1,938 of the documents

(63%), produce 331 redacted documents, and withdraw work-product designation for 17—

thereby altering the designation of nearly 75% of the sample. Given this overdesignation,

Facebook agreed to re-review each of the remaining 233,544 documents. This has so far resulted

in the de-designation of more than 10,000 documents, with review and de-designation ongoing.

       Facebook’s overdesignation of documents has significantly delayed the case. While

Plaintiffs appreciate that Facebook appears to be producing these documents now, their improper

withholding has prejudiced (and will prejudice) Plaintiffs. For example on Sunday, May 22, two

days before the deposition of former Facebook employee Douglas Purdy, Facebook produced

1,744 documents of his documents that had been erroneously withheld as privileged.

       4.      Financial information. Since 2019, Plaintiffs have sought production of

information about the revenue Facebook receives as a result of allowing third parties access to

user data. Until recently, Facebook repeatedly denied that such information existed, including in

on-the-record statements made to Judge Corley. It is, again, simply false for Facebook to claim

that Plaintiffs “were silent” about financial information “for a year.” Infra p. 9. Plaintiffs raised


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this issue multiple times throughout 2021 and 2022. On March 4, Facebook agreed to search

again, and began producing documents—which do, in fact, exist—on April 15. Facebook has not

told Plaintiffs when production will be complete. Facebook should be ordered to complete this

production by July 1, 2022.

       5.      VPPA documents. Plaintiffs first requested VPPA-related documents in

November 2019. In August 2021, Plaintiffs served Facebook with RFPs narrowly focused on

VPPA issues. For those requests suited to targeted searches, Facebook only started producing

responsive documents on May 16 but has not yet said when it will complete production. For

another VPPA-related request, Facebook first proposed custodians and search terms on May 17,

and Plaintiffs responded on May 24, with agreement not yet reached. Note that it was Facebook

that proposed custodians and search terms, not Plaintiffs; it is odd for Facebook to complain

about its own proposal. Facebook’s proposal also shows that its previous VPPA search was

inadequate. Indeed, it identified 56 custodians for the new VPPA search, and only 11 previously.

Meanwhile, Plaintiffs have been delayed in taking testimony from a 30(b)(6) designee on the

VPPA; a few days ago, Facebook told Plaintiffs that a deposition could not occur until July.

Facebook should be ordered to complete production of VPPA-related documents within two

weeks and to provide a witness to testify by the end of June.

       6.      Named Plaintiffs’ data. The Special Master is overseeing the inquiry into

production of Named Plaintiffs’ data. Facebook has not produced any additional Named Plaintiff

data since the Special Master’s inquiry began. Today in deposition Plaintiffs learned that

Facebook withheld 52 snapshots of Named Plaintiff data available since 2021. Plaintiffs further

learned that Facebook has put in cold storage key data identified by Facebook as responsive to

the litigation hold in this action, and asserts data in cold storage is too burdensome to produce.

       7.      Status of document production generally. On February 3, Facebook told the

Court it had met the January 31 substantial-completion deadline under the then-operative case

schedule, having produced 624,420 documents. ECF No. 829 at 7, 11. Since then, it has

produced an additional 315,337 documents. Production is ongoing.


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                                  FACEBOOK’S STATEMENT

       “Delay, obstruction, and sanctionable conduct.” Since the February case management

conference (“CMC”), this is Plaintiffs’ common refrain on all discovery issues. In response,

Facebook has essentially abandoned attempts to hold Plaintiffs to the scope of discovery dictated

by this Court and the Federal Rules of Civil Procedure. While the resulting flood of additional

discovery will not make a difference on class certification or the merits, it has unfortunately (and

ironically) fueled Plaintiffs’ strategy of claiming discovery misconduct at every turn and made it

nearly impossible to negotiate reasonable compromises—on any issue. 2 Facebook hopes

Plaintiffs will refocus and work more cooperatively, but discovery in this case will end on time.

Below are updates since the joint case management statement filed before the CMC in March.

A.     Rule 30(b)(6) Depositions

       Since the last CMC, Plaintiffs have taken eight fact depositions (17 to date) and six

30(b)(6) depositions (eight to date), and Facebook has now deposed all of the named Plaintiffs.

       Plaintiffs claim that, following the March CMC, Facebook “took back” assurances that its

objections to the 30(b)(6) notice would not limit the scope, and point to “problems” they say are

occurring in depositions despite their “consistent efforts” to meet and confer. Facebook made no

such assurances, and what the so-called “problems” result from a 30(b)(6) notice that is not

reasonably particularized, Plaintiffs’ demands that Facebook set dates while refusing to meet and

confer on the topics, and, having now (finally and not for anything near the 20 hours they claim)

agreed to meet and confer, Plaintiffs’ refusal to focus the topics in a way that, like their theories

of liability, relate to data sharing and enforcement with respect to app developers, whitelisted

apps, and business partners. Dkt. At 298 at 6-10. Instead, Plaintiffs have taken the position that

the topics cover all user data collected, stored, and/or used by Facebook, regardless of whether it

was shared with or made accessible to app developers, whitelisted apps, or business partners,

including data used only by Facebook’s internal systems for targeted advertising.


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      Plaintiffs’ desire to attach the mediation tracker for the supposed purpose of updating the
 Court on the status of discovery disputes underscores this strategy.
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       Plaintiffs ignored Facebook when it raised issues about the draft 30(b)(6) notice, served

the notice in March 2022, and then threatened to take the issue to the Court if Facebook did not

agree to set dates immediately. To date, four Facebook witnesses have spent over 300 hours

preparing for and providing substantive testimony on their designated topics over six days:
               Friend sharing and whitelisting. The witness has testified for two days and will be
deposed for a third day next week. He has testified to friend sharing, including the sensitivity of
friend-permissions (Tr. at 28:2-12”), and on whitelisting for over five hours as Plaintiffs’ counsel
acknowledged in describing their “lengthy discussion about whitelisting . . . .” (Id. at 227:13-16).
As Plaintiffs are well aware, another witness has been designated to address financial analyses.
              Monitoring and enforcement. The witness testified about Facebook’s monitoring
and enforcement practices since 2007 (Tr. at 310:20-315:15), as well as how Facebook decided
whether and how to enforce on particular developers or applications (see, e.g., id. at 323:18-
326:13, 327:16-328:20, 333:20-334:17, 335:13-336:7). That she could not testify to specific
enforcement actions over a 15-year period (of which there were millions) is not unreasonable and
consistent with the topic which calls for “[a]n overview.”
               Pseudonymization, de-identification, re-identification, association, and deletion.
Facebook reasonably understood this topic to relate to deletion, as opposed to “association” of user
data generally, because all of the other terms are part of Facebook’s deletion framework. As for
the definition of “personal information,” after repeatedly asking the witness to define that term as
used in the CPPA, Plaintiffs asked the witness for his own definition, to which he responded by
trying to explain that he was concerned about divulging privileged communications with counsel
(Trans. at 222:22-23). Facebook is not refusing to provide this information.
               Monetization. Plaintiffs’ questions about alleged payments by Facebook to third
parties for user data is outside the scope of the designated topic which covers Facebook’s
calculation of revenues, gross profits, and net profits relating to user data, including monetization
of user data and how Facebook quantified the value of sharing user data.

       Plaintiffs refused to limit, or even discuss, the scope of a 30(b)(6) notice that, on its face,

lacks reasonable particularity, and Facebook capitulated to their demands to schedule depositions

without any meet and confer to avoid discovery disputes, and, for the same reason, agreed to

resolve the sanctions motion Plaintiffs filed following the first 30(b)(6) deposition. The motion

was filed after Facebook offered to address all of the issues raised by Plaintiffs, and Plaintiffs

refused to resolve it unless Facebook agreed to 100 hours of 30(b)(6) testimony (instead of the

21 hours previously agreed to by the parties). In retrospect, perhaps Facebook should have stood

on its objections. But the parties are now starting to meet and confer, which Facebook hopes

will facilitate identifying and resolving areas of dispute in advance of depositions.


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B.     ADI Documents

       Facebook has completed production of documents under the Special Master’s ADI orders

as modified by the Court with respect to the relevant time period (“ADI orders”), and has agreed

to additional productions, that Plaintiffs argue are covered by the ADI orders, by June 15.

       Between January 21 and March 3, 2022, Facebook produced all required ADI documents

(i.e., document constituting the facts of the investigation, including background and technical

reports, audits, non-attorney developer interviews, and disposition memoranda), as well as all

required ADI-related communications, even though the Special Master’s order on ADI-related

communications had only issued on January 31, 2022.

       Facebook alerted Plaintiffs that, while the Special Master’s order was limited to custodians

the parties previously identified and collected, those collections covered a certain time period and

were conducted using app/app developer names. During the March CMC, the parties asked this

Court to extend the time period “through the present,” which the Court did and ordered Facebook

to complete production by April 27. Facebook also offered to negotiate additional search terms

with Plaintiffs. Facebook met the April 27 deadline by assembling a team of over 900 attorneys,

who spent over 70,000 hours collecting, processing, and reviewing 1.35 million documents.

       In response, Plaintiffs took the position that, in addition to the 26 ADI custodians which

the parties had stipulated to in proceedings before Judge Corley, the ADI orders cover all of the

78 other MDL custodians, more than quadrupling the number of custodians from 25 to 78. Again,

to avoid discovery disputes, Facebook agreed to Plaintiffs’ demand and to complete producing

documents for what Plaintiffs called “exemplar” MDL custodians by June 3, and the remaining

MDL custodians by June 15. This effort has required over 600 attorneys and 70,000 hours to

collect, process, and review over 2 million documents.

       As for Plaintiffs’ claim that the ADI productions have “caused a waterfall of further

delays,” the parties reached a mutual agreement, based on many factors, to postpone certain

depositions. It is simply not true to say those postponements were due to ADI productions.




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C.     Financial Information

       Facebook has never denied that it has financial information, only that it does not have the

type of financial information Plaintiffs are seeking—documents that “value” of user data. As

Plaintiffs know, Judge Corley allowed Plaintiffs to take a Rule 30(b)(6) deposition to “narrow”

their requests for financial information. See Dec. 9, 2020 Hr’g Tr. at 3-14. Plaintiffs took that

deposition in February 2021. A year later, during a mediation session in February 2022,

Plaintiffs asked Facebook to search for specific types of financial information. Facebook agreed

to conduct those searches and produced more than 6,500 documents.

D.     VPPA Documents

       What Plaintiffs describe as delay in producing video-related documents is actually

another attempt by Facebook to avoid further discovery disputes by agreeing to demands that are

in fact an attempt to avoid discovery rulings by Judge Corley. As an initial matter, Facebook has

already produced 35,000 video-related documents. These documents were identified through

search strings negotiated by the parties and ordered by Judge Corley. Judge Corley required

Plaintiffs to narrow their proposed search strings from 455 to 75 (see Dkt. 517 at 4; Dkt. 522),

and issued multiple orders resolving disputes and rejecting Plaintiffs’ repeated efforts to reopen

her orders. See Dkt. 555; Dkt. 654; 11/5/2020 Trans. at 4:13-15 (“Let’s just start with

something. I resolved – for the first 38 custodians, we resolved the search terms.”); 12/9/2020

Trans. at 7:9-10 (“I guess I don’t really understand. I mean, the [search string] limit was there to

require [you] to prioritize.”). Judge Corley made clear, “we need the search string stuff to come

to finality. . . I want[] to make sure that we’re not going seriatim.” 9/4/2020 Trans. at 7:16-8:10.

       On August 30, 2021, a month after the Special Master was appointed, Plaintiffs served

the document requests at issue, many of which overlap with those for which Judge Corley ruled

on search strings. Facebook initially objected based on Judge Corley’s prior rulings, but recently

agreed to reopen search string negotiations for these requests to avoid further discovery disputes.

Plaintiffs are demanding search strings resulting in hundreds of thousands of documents.




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E.     Privilege Log

       On April 29, 2022, Plaintiffs challenged nine categories of documents on the privilege log

As Plaintiffs know, there are 89,637 entries, not 233,544, eliminating duplicates and “near-dupes.”

Facebook reviewed samples within one week and notified Plaintiffs that it was de-designating a

significant percentage of the sample. Facebook immediately began a full re-review of the log,

which will be complete by June 3 for document categories Plaintiffs identified as high priority,

and by June 10 for the rest, subject to a small subset of documents. Plaintiffs’ contentions about

impacts on the Purdy deposition and deposition scheduling are disingenuous. De-designation rates

decreased. Further 653 of the 1744 of the Purdy documents were near-duplicates, which Plaintiffs

know because, as a courtesy, Facebook provided a spreadsheet to streamline their review; and, as

explained above, depositions were rescheduled by mutual agreement based on many factors.

F.     Named Plaintiff Data

       As Judge Corley explained in her most recent order on this issue, the purpose of the

ongoing proceedings before the Special Master is to determine “what, if any, data from [systems

other than DYI] should be produced consistent with [FRCP 26(b)].” Dkt. 807 at 4. Facebook

continues to believe its productions to date, which include all three categories of “discoverable

user data” identified by Judge Corley in Discovery Order No. 9 (Dkt. 557), meet this standard,

but submitted a proposal agreeing to search for and produce additional data. Facebook has also

agreed to most of Plaintiffs’ demands in their response to the proposal to further facilitate

resolution of this issue. As for Plaintiffs’ complaints about data in cold storage and “snapshots,”

Facebook previously sought (and won) a protective order relating to other data in cold storage, so

that could have come as a surprise, and they assume “snapshots” are responsive.

G.     Status of discovery

Facebook’s productions after the January 31, 2022 substantial completion deadline are the result

of (1) the Special Master’s ADI order issued on the same date; and (2) Facebook’s attempt to

avoid further discovery disputes by agreeing to demands by Plaintiffs that are neither relevant

nor proportional to the needs of this case.


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Dated: June 3, 2022                                 Respectfully submitted,


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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)


       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 3rd day of June, 2022, at Oakland, California.


                                              /s/ Lesley E. Weaver
                                              Lesley E. Weaver




JOINT CASE MANAGEMENT                            13                                    MDL NO. 2843
STATEMENT                                                                   CASE NO. 18-MD-02843-VC
